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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


A. M., A MINOR, BY AND THROUGH
THE MINOR’S NEXT FRIEND
AND/OR GUARDIAN;

     Plaintiff,

v.                                                     Case No. SA-20-CV-01400-JKP

ANDRE MCDONALD,

     Defendant.


                          ORDER OF ADMINISTRATIVE CLOSURE


         Before the Court is the status of this matter. Upon review, the Court finds administrative

closure is appropriate.

         On this day the Court entered an Agreed Order directing distribution of the life insurance

proceeds which are the subject of this action to an agreed Permanent Trustee. Based upon the

agreed terms of the parties and the Court’s required terms of distribution of the life insurance

proceeds, the Court finds the conclusion of this matter is dependent upon the conclusion of state
court proceedings to determine guardianship and conservatorship of the child, A.M.

Consequently, conclusion of this case is indefinite.

         When conclusion of a case is indefinite, it is appropriate for administrative closure. Mire

v. Full Spectrum Lending, Inc., 389 F.3d 163, 167 (5th Cir. 2004); see also CitiFinancial Corp.

v. Harrison, 453 F.3d 245, 250 (5th Cir. 2006). The act of administrative closure is not a

dismissal or disposition of the case, nor any reflection or comment on the substantive merits.

When further proceedings become necessary or desirable after completion of the property

appraisal, any party may initiate such further proceedings by moving to reopen the case. The
Court may initiate further proceedings as warranted. See Mire, 389 F.3d at 167.
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       The Clerk of Court is DIRECTED to administratively close this case pending further

court order.

       The Court ORDERS the Plaintiff A. M., a minor, by and through the Minor’s Next

Friend and/or Guardian to file a status report every ninety (90) days from the date of this Order

indicating the status of the state court proceedings to determine guardianship and conservatorship

of the child, A.M.

       IT IS FURTHER ORDERED the parties must advise this Court of any resolution of the

state court proceedings to determine guardianship and conservatorship of the child, A.M.

       It is so ORDERED.
       SIGNED this 21st day of December, 2021.




                                     JASON PULLIAM
                                     UNITED STATES DISTRICT JUDGE
